                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION-DETROIT

IN THE MATTER OF:                              Case No. 21-42581
                                               Chapter 7
Moose M. Scheib,
     Debtor                                    Hon. Mark A. Randon

and

KELLY SILVERA JARRETT,                         Adv Proc No. 21-04167
    Plaintiff,
v.                                             Hon. Mark A. Randon

MOOSE SCHIEB, a/k/a MUSTAPHA SCHIEB
a/k/a MUSTAPHA CHEAIB,
      Defendant.


                          CERTIFICATE OF SERVICE

      I certify that on August 31, 2022, I electronically served the following on the
parties:
      1. Subpoena and Plaintiff’s Notice of Taking De Bene Esse Video
         Deposition of Rohit Turkhud, Esq.
      2. Subpoena to Appear at Trial to Rami D. Fakhoury, Esq.
      3. Subpoena to Appear at Trial to Moose M. Scheib

 Moose Scheib                                  Moose Scheib
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By means of electronic and first-class mail.

                                       Respectfully submitted,
                                       JOHNSON LAW, PLC

                              By: /s/ Paul F. Doherty
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Date: August 31, 2022            pdoherty@venjohnsonlaw.com
